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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
GLOBAL INTERACTIVE MEDIA, INC.,                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20 Civ. 8998 (JPC) (RWL)
                  -v-                                                  :
                                                                       :           ORDER
MUSICTOGO, LLC,                                                        :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        Given this Court’s referral of the case to the Honorable Robert W. Lehrburger for General

Pretrial, the Initial Pretrial Conference scheduled for March 10, 2021, at 11:00 a.m. is adjourned

sine die. The parties are directed to familiarize themselves with Judge Lehrburger’s Individual

Rules, available at https://www.nysd.uscourts.gov/hon-robert-w-lehrburger.

        SO ORDERED.

Dated: March 1, 2021                                       __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
